                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               DANVILLE DIVISION

   UNITED STATES OF AMERICA                     )
                                                )
                                                )      Case No.: 4:18-cr-00011
   v.                                           )
                                                )
                                                )
   MARCUS JAY DAVIS, et al.,                    )
                                                )      By:   Michael F. Urbanski
           Defendants.                          )      Chief United States District Judge

                                              ORDER

           This matter comes before the court on the numerous motions in limine filed by counsel

   for the government and defendants in the past several weeks. The court heard argument on

   the issues presented by these motions on September 13, 2019. ECF No. 752. Regarding the

   issues and motions argued before the court at the hearing and others briefed by the parties in

   writing, the court now RULES as follows:

        1. Motions and questions surrounding Matthew Ferguson's guilty plea.

           On August 30, 2019, the government alerted the parties and the court that former

   defendant and current cooperating witness Matthew Ferguson had recanted parts of sworn

   statements made to the Danville police, government's counsel, and the court. Ferguson no

   longer holds that he was present at the murder of Christopher Motley, in direct contradiction

   to what he said in interviews with the authorities and before this court during his Rule 11 guilty

   plea colloquy. The court is now left with the dilemma of whether Ferguson's guilty plea is

   valid, as it is no longer certain that the facts to which Ferguson still swears support his

   conviction.




Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 1 of 17 Pageid#: 5133
          According to the two-remedy rule for addressing post-plea issues developed by the

   Third Circuit in United States v. Allen, 804 F.2d 244 (3d Cir. 1986), and adopted by the Fourth

   Circuit in United States v. Carr, 271 F.3d 172 (4th Cir. 2001), "when .. . the record does not

   include sufficient information from which the district could find a factual basis for the guilty

   plea, the appropriate remedy is to ... [hold] further proceedings to create the appropriate

   record." Id. at 180 (quoting United States v. Tunning, 69 F.3d 107, 115 (6th Cir. 1995)). The

   court thus VACATES its acceptance of Ferguson's guilty plea and ORDERS that a new Rule

   11 hearing be held in order to determine if there is sufficient factual basis to accept Ferguson's

   guilty plea. This hearing shall be noticed on the docket and all defendants and their counsel

   may be present. Further, the government ORDERS that an evidentiary hearing be set for

   September 27, 2019, at which the court will hear from Ferguson, Allegra Black (Ferguson's

   previous attorney) , and an FBI agent present during a meeting between Ferguson, Black, and

   government's counsel.

          In a related matter, Trent's motion for a bill of particulars regarding Matthew Ferguson,

   ECF No. 716, is DENIED. The government's disclosure of the development of this issue

   and the extensive discovery conducted throughout the pendency of this case have been more

   than sufficient.

      2. The government's motion in limine to admit Rule 404(b) evidence, ECF No.

          651.

          The government's motion in limine to admit evidence under Federal Rule of Evidence

   404(b), filed on August 23, 2019, stated that, while the government was offering notification

   of Rule 404(b) evidence "out of an abundance of caution," it maintained that the evidence was


                                                   2

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 2 of 17 Pageid#: 5134
   intrinsic to the offenses charged in the First Superseding Indictment. ECF No. 651, at 1. At

   the hearing on September 13, the government proffered that this evidence will address three

   prior incidents: (1) the December 8, 2015 shooting at 177 Sunset Drive in Danville; (2) the

   April 26, 2016 shooting at the corner of Garland St. and Berryman Avenue in Danville; and

   (3) the November 2, 2016 consensual encounter in front of the Jiffy Mart in Danville.

   Regarding this Erst incident, the government proffers that witnesses Matthew Ferguson,

   Laquante Adams, and J aquan Trent will testify to being present during the planning of this

   shooting and saw gang members leave armed to carry it out. The government also proffered

   that several neighbors would testify to the shooting itself and that a police officer present at

   the crime scene would testify to evidence recovered. The government proffered that evidence

   regarding the second incident would be provided by Laquante Adams, who again witnessed

   the planning of and preparation for the event. Finally, the government proffered that evidence

   regarding the third incident would come from police officers who approached several

   defendants in a parked car, smelled marijuana, and upon a search discovered drug

   paraphernalia, money, and firearms. All of this, argues the government, is charged conduct

   part and parcel of the Count I RICO Conspiracy, and will be offered to prove the racketeering

   activities of drug trafficking and shootings. Defendants responded, in motions in limine, filed

   objections, and in argument at the September 13 hearing, that this evidence is outside the

   scope of the First Superseding Indictment and does not meet the four prong requirements of

   character evidence set by United States v. Queen, 132 F.3d 991 (4th Cir. 1997), which requires

   that proffered character evidence meet heightened requirements of relevance, necessity,

   reliability, and probative value to be admitted. Id. at 995.


                                                   3

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 3 of 17 Pageid#: 5135
          The court agrees with the government. Defendants are charged with having

   participated in a racketeering conspiracy, the furtherance of which involved incidents of

   violence and drug trafficking. The evidence proffered by the government is both relevant and

   probative to the continuity and duration of the alleged racketeering conspiracy. Such conduct

   is charged in paragraphs 12(d) and 12(e) of the First Superseding Indictment. See ECF No.

   207, at 7-8 (paragraph 12, "Overt Acts") . Given this, there is no need to discuss the four

   requirements for the admission of character evidence under Queen.

          At the hearing, counsel for Trent argued that much of the testimony regarding the

   above incidents will be provided by Matthew Ferguson, whose reliability is certainly ripe for

   questioning. The court is cognizant of the many issues associated with Ferguson's testimony,

   but credibility is a jury matter. The court will not make a ruling on Ferguson's credibility as a

   matter of law, but will instead provide defendants' counsel wide latitude to explore the issue

   on cross examination. Defendants' motions in limine and objections to this evidence are

   OVERRULED. ECF            o. 552 and ECF No. 591 are DENIED insofar as they request the

   exclusion of the evidence of certain prior incidents of uncharged conduct. ECF Nos. 588 and

   596, which joined ECF     o. 552, are thus also OVERRULED.

          D efendant Ashley Tiana Ross's motion for a bill of particulars with respect to the

   government's notice, ECF No. 724, is DENIED.

      3. Government's Motion in Limine to Preclude Improper Character Evidence,

          ECF No. 654.

          At the hearing, the government stated that, when this motion was flied, government's

   counsel believed certain stipulations would be agreed to regarding the admissibility of


                                                  4

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 4 of 17 Pageid#: 5136
   witnesses. As government's counsel is now aware, the parties have as yet agreed to no

   stipulations, and thus the government will be making Giglio disclosures to defendants' counsel

   in the coming week. Several defendants' counsel stated at the hearing that their objections to

   this motion are generally resolved, pending what material the government discloses in the next

   week.

           As a general matter, the court notes that no party need flle a motion in limine stating

   that other parties ought to obey the Federal Rules of Evidence. T he government's motion,

   ECF No. 654, is DENIED as moot.

      4. Defendant Marcus Davis's objections to the government's exhibits on the basis

           of completeness, ECF No. 598.

           Davis objects generally to the submission of excerpted and redacted documents. He

   argues that Federal Rule of Evidence 106 and the common law rule of completeness requires

   that partial documents, statements, or recordings should not be introduced without the entire

   document, statement, or recording. The government responds that, at the direction of the

   court, it has tried to avoid redundant or voluminous exhibits, but that Rule 106 and the

   common law rule of completeness do not require the universal admission of a full document

   when a part of it has been offered. United States v. Gupta, 747 F.3d 111, 138-39 (2d Cir.

   2014). Instead, a trial court may allow relevant portions of otherwise excluded testimony as

   needed to clarify or explain already received testimony. United States v. Hassan, 742 F.3d 104,

   134 (4th Cir. 2014).




                                                  5

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 5 of 17 Pageid#: 5137
          The court agrees. Objections of the type Davis makes are best suited for trial, when

   counsel for Davis may object if the government offers incomplete or misleading evidence. For

   now, the objection is OVERRULED.

      5. Defendant Tenikqua Fuller's objections to specific United States' Trial

          Exhibits, ECF No. 587, joined by Ashley Ross, ECF No. 595.

          Defendant Fuller objects to the admission of three types of evidence to be offered by

   the government: (1) evidence related to two firearms found during a lawful search of Fuller's

   mother's residence; (2) a blue bandana found during the same search; and (3) evidence related

   to several "phone drops," made by Fuller at a Wal-Mart cellphone recycling kiosk. Fuller

   argues that neither the guns nor the cellphones can be linked to any of the charges in the First

   Superseding Indictment and that the government will unjustifiably attempt to imply that these

   legal, innocuous acts (owning firearms and disposing of cellphones) were in furtherance of

   racketeering activities. A blue bandana, meanwhile, while used as a "gang flag" for the Rollin

   60s Crips, is also an article of clothing and can be used as such with no other intent.

          T he government responds that the possession of the recovered firearms shows Fuller's

   knowledge of firearms and will be used to rebut any argument that she had no such knowledge.

   Further, the cellphone drops took place in the weeks following the murder of Christopher

   Motley-one occurred only three days following the murder, and was the first time Fuller ever

   used the Wal-Mart cellphone kiosk. The government argues that the jury is allowed to draw

   reasonable inferences from Fuller's disposal of the cellphones. Finally, the blue bandana does

   not exist in a vacuum; it was hung on the wall of Fuller's bedroom. The government contends




                                                  6

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 6 of 17 Pageid#: 5138
   that it will also offer posts from Fuller's Facebook account in which she indicates support for

   and affiliation with the Rollin 60s Crips.

          As with many pretrial motions in limine regarding specific items of evidence, final

   rulings will have to await trial, where admission can be more fully assessed. At this point,

   however, defendant's objections appear to go to weight, rather than admissibility, and are thus

   OVERRULED.

      6. Use of police reports and law enforcement summaries of witness interviews.

          A number of defendants have objected to the use of police reports and other law

   enforcement summaries as inadmissible hearsay. Specifically, ECF Nos. 552 Goined by ECF

   Nos. 588 and 596), 587, and 591 collectively obj ect to exhibits 1, 14, 24, 25, 73, 182, 183, 246,

   263,298,318,1514, 1515,1522, 1523,1525, 1526,1576, 1602,1603, 1605,1606, 1608,1609,

   1611,1612, 1614,1615,1619,1621,1622,1733,1735,1736, 1739,1743, 1745, 1776B, 1776C,

   1777B, 1777C, 1778B, 1778C, 1779B, 1779C, 1784, 1785, 1833,1834, 1836,1837,1 839,1840,

   1842,1843,1919,1920,1922,1923,1929,2033,2063,2064,2065. T he government agrees

   with defendants' objections and states that these exhibits are only to be used to refresh or

   impeach a witness as needed. T he only exception to this is exhibit 14, which is a request for

   laboratory examination, contains no descrip tion of the case, and is not admitted for hearsay

   purposes.

          Given there is no objection from the government, ECF Nos. 552, 587, and 591 are

   GRANTED insofar as they obj ect to hearsay in police reports and law enforcement

   summaries (with the exception of exhibit 14). If the use of these exhibits becomes necessary

   at trial, the court can reevaluate the issue upon a proper obj ection.


                                                   7

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 7 of 17 Pageid#: 5139
      7. Use ofvideo subtitles to assist the jury.

          Defendant Deshaun Trent has filed a motion in limine, ECF No. 545, objecting to the

  government's use of video subtitles to assist the jury in understanding certain videos and

   exhibits. Defendant objects to exhibits 444, 447, 539, 545, 548, 551, 554, 785, 790, 795,798,

   805, 808, 811, 816, 819, 822, 825, 989, 992, 995, 998, 1001, 1004, 1007, 1063, 1119 and 1122

   (videos with added subtitles) and exhibits 445, 448, 540, 546, 549, 552, 555, 786, 791, 796, 799,

   806,809,812,817,820,823,826,990,993,996,999,1002,1005,1008,1064, 1120and 1123

   (transcripts of the audio portion of the above videos). This motion is joined by ECF Nos. 586

   and 588. ECF     os. 596 and 599, both filed by defendant Kanas Lamont'e Trent, joins the

   above objections but adds an objection to exhibits 1516-1519, 1522, 1525. 1602, 1605, 1608,

   1611, 1614, 1813-1818, 1824, 1825, 1827-1830, 1915, 1916, 1982A, 2034-2044, and exhibits

   215, 1517, 1520, 1826, 1831, 1917, 1982B, and 2045, for the same reasons put forward by

   Deshaun Trent.

          The Federal Rules of Evidence authorize the use of a transcript where its introduction

   would aid the jury in following a recorded conversation or avoid confusion and wasted time.

   United States v. Holton, 116 F.3d 1536, 1540-42 (D.C. Cir. 1997). The decision to allow or

   not allow this is within the court's discretion, United States v. Collazo, 732 F.2d 1200, 1203

   (4th Cir. 1984), cert. denied, 469 U.S. 11 OS (1985), but the Fourth Circuit has repeatedly upheld

   the use of subtitles and transcripts so long as: (1) the witness subject to cross-examination can

   testify to the authenticity of the transcript, (2) the defense has an opportunity to object to the

   accuracy of the transcript, and (3) the court provides an appropriate limiting instruction.

   Collazo, 732 F.2d at 1203; United States v. Capers, 61 F.3d 1100, 1107 (4th Cir. 1995); United


                                                   8

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 8 of 17 Pageid#: 5140
   States v. Pratt, 351 F.3d 131, 140 (4th Cir. 2003); United States v. Brandon, 363 F.3d 341,343-

   44 (4th Cir. 2004). Because the United States proposes to satisfy all three conditions, the use

   of transcripts and subtitles is appropriate here as an aid to the jury. Trent's motion in limine,

   ECF No. 545, is DENIED, and all other objections to the use of subtitles and transcripts are

   thus OVERRU LE D.

      8. Defendant Shabba Chandler's objection to potential impeachment evidence,

          ECF No. 591.

          Defendant Shabba Chandler objects to a number of exhibits that the government has

   marked as potential impeachment evidence, to be used affirmatively only as needed to impeach

   or refresh witnesses. The potential impeachment exhibits fall into various categories: (1)

   witnesses' grand jury transcripts (exhibits 1559, 1577, 1627, 1780, 1800, 1844, 1983, 1991,

   1992, 1993, 1994, 1995, 1997, 2003, 2027, 2029, 2032, 2046, and 2062); (2) video clips of

   witness interviews (exhibits 1516, 1517, 1518, 1519, 1520, 1813, 1814, 1815, 1816, 1817, 1818,

   1819, 1820, 1821, 1822, 1823, 1824, 1825, 1826, 1827, 1828, 1829, 1830, 1831, 1915, 1916,

   1917, 2034, 2035, 2036, 2037, 2038, 2039, 2040, 2041, 2042, 2043, 2044, and 2045); (3) prior

   written statements of witnesses (exhibits 2000, 2001, 2019, and 2028); (4) an advice of rights

   waiver (exhibit 1914); (5) a hearing transcript (exhibit 1928); and (6) proffer agreements and

   plea forms (exhibits 1521, 1524, 1558, 1601, 1604, 1607, 1610, 1613, 1618, 1731, 1734, 1737,

   1742, 1776A, 1777A, 1778A, 1779A, 1783,1832,1835,1838,1841,1911,1918,1921,1927,

   and 2068) . Chandler contends that these exhibits are not relevant, are substantially more

   prejudicial than probative, include hearsay, and constitute improper bolstering. Chandler is




                                                   9

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 9 of 17 Pageid#: 5141
   joined by ECF Nos. 595, 604, 607, and 730. To be sure, many of these out of court statements

   are subject to hearsay objections, as to which certain exceptions may or may not apply.

          Resolution of these objections will depend on how this evidence is used. If the evidence

   is only intended to impeach a witness or refresh a witness's memory, then it may never be

   offered into evidence. This would render this motion moot. The court thus TAKES UNDER

   ADVISEMENT Chandler's motion as it pertains to these exhibits and will consider the

   evidentiary issues associated with these exhibits at trial.

      9. Objections to defendant statements and Facebook messages.

          Defendants object to the use at trial of particular defendant statements as hearsay,

   specifically: (1) excerpts of a recorded, post-arrest interview with Kevin Trent; (2) the redacted

   grand jury transcript of Ashley Ross; and (3) excerpts of Facebook Messenger conversations

   and posts by the defendants during the conspiracy. ECF No. 591. See also ECF Nos. 595,

   604, 607, & 730 Goining ECF No. 591). Collectively, defendants object to exhibits 828, 829,

   830,831,832,833,834,835,836,837,838,1139,1140,1141,1142,1144,1630,1631,1632,

   1800, 1849, 1850, 1912, 1913, 1982A, and 1982B. The government responds that these

   statements are excluded from the rules barring hearsay because they are the statements of party

   opponents. Fed. R. Evid. 801(d)(2). More specifically, Kevin Trent's statements, made during

   a post-arrest interview held after he waived his Fifth Amendment rights, include his admission

   to being a member of the Rollin 60s Crips, being present and armed for the Motley murder,

   and running to Tenikqua Fuller's apartment after the shooting. The court agrees and

   DENIES the motion and OVERRULES the objections as they pertain to Kevin Trent's

   statements.


                                                    10

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 10 of 17 Pageid#: 5142
          Defendants also object to several Facebook messages sent by Kanas Trent. The

   government argues that the excerpted Facebook conversations, exhibits 1139, 1140, 1141,

   1142,1144,1630,1631,1632,1849,1850,1912, 1913,arebothadmissionsbyapartyopponent

   and statements by a co-conspirator under Rule 801 (d)(2)(E), and are thus admissible against

   all members of the conspiracy. To admit evidence under this Rule 801(d)(2)(E), the

   government must show, by a preponderance of the evidence: (1) that there was a conspiracy

   involving the declarant and the party against whom admission of the evidence is sought; and

   (2) that the statements at issue were made in furtherance and in the course of that conspiracy.

   Bourjaily v. United States, 483 U.S. 171, 175 (1987); United States v. Smith, 441 F.3d 254, 261

   (4th Cir. 2006). The Fourth Circuit construes the "in furtherance" requirement broadly, "so

   broadly that even casual relationships to the conspiracy suffice to satisfy the exception [to the

   hearsay rule]." Smith, 441 F.3d at 262.

          At the hearing, the government proffered that these Face book messages include photos

   of written documents recording "gang knowledge"-notes on the rules, ranks, and affiliations

   of the Rollin 60s Crips. As the racketeering conspiracy charged in this matter was in fact the

   activities and associations of the gang members, there seems no logical argument that could

   assert that documents recording the rules of the gang were not in furtherance of gang activities.

   The second of the Bourjaily requirements is thus met.

          Also at the hearing, counsel for Trent argued that the first requirement could not be

   met because, while defendants were clearly sending photos of these written documents to each

   other, the original creator of the handwritten notes is unknown. As such, it cannot be

   determined whether the statements are those of a party opponent or a co-conspirator. As the


                                                  11

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 11 of 17 Pageid#: 5143
   government points out, however, these statements, sent by a defendant (a party opponent)

   through the use of a social media website, manifests an adoptive admission. See United States

   v. Recio, 884 F.3d 230, 234-35 (4th Cit. 2018) (holding that, by posting a song lyric, the

   defendant meant to adopt it as his own words).

          To constitute an adoptive admission, the government must be able to point to

   "sufficient foundational facts from which the jury could infer that the defendant ... acquiesced

   in the statement." United States v. Robinson, 275 F.3d 371, 383 (4th Cir. 2001). These written

   documents of "gang knowledge" were sent by Karras Trent; the accompanying messages

   discuss the photographs as "books of knowledge." Assuming authenticity of the Facebook

   messages is established, a jury could reasonably infer that Karras Trent meant to adopt the

   words of the written documents as his own. See Recio, 884 F.3d at 234-35 (" ... Recio did not

   use quotation marks, attribute the lyric to the artist or provide other signals to indicate to his

   Facebook audience that someone else authored the words in his post .. . . Based on these

   facts, a jury could infer that by posting the lyric on Facebook, Recio meant to adopt is as his

   own words."). The government asserts that it will be able to properly authenticate the

   Facebook messages as being sent by a defendant. Assuming a proper foundation can be

   established for the Facebook messages, defendants' other objections are OVERRULED,

   based on the Recio court's analysis of adoptive admissions.

          Defendant Ashley Ross objected to the use of several of her Facebook posts as

   irrelevant and substantially more prejudicial than probative. ECF No. 595 (objecting to

   exhibits 828, 829, 830, 831, 832, 833, 834, 835, 836, 837, 838). The government responds that

   these exhibits are either user attribution evidence, proving that this particular Facebook


                                                   12

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 12 of 17 Pageid#: 5144
                                                                                                      1

   account belongs to Ross, or are evidence of Ross's association with the Rollin 60s Crips. Ross's

   obj ection is OVERRULED.

          Finally, defendant Ross also objects to the use of a redacted copy of her grand jury

   testimony, ECF     o. 595, but stated at the hearing that identifying which sections of the

   transcript give rise to her objections is too cumbersome to be accomplished by written brief.

   It is therefore ORDERED that a hearing will be scheduled, during which counsel for Ross,

   government's counsel, and the court can go through the transcript and argue all obj ections.

   The hearing will be noticed; all defendants who wish to be present may be.

      10. Objections to defendants' names on exhibits.

          Defendants request the removal of their names on the certificates of analysis marked

   as exhibits in this case, arguing that the listing of their names as "suspects" is significandy

   prejudicial. ECF   os. 563 & 661 (obj ecting to Exhibits 310,311,312,314, 315). See also ECF

   Nos. 597 & 604 Goining ECF No. 563). The government states that it largely agrees and has

   redacted the defendants' names from exhibits 310, 311, 312,314, 315. ECF        os. 563 and 661

   are thus GRANTED.

          Defendant Kanas Trent, however, requests the removal of his name from all the

   government's trial exhibits. ECF No. 650. See also ECF No. 734 Goining ECF No. 650). To

   this, the government argues that if a defendant's name appears in a text message or a Facebook

   messenger conversation, the name may be highly probative evidence. T he court agrees. ECF

   No. 650 is DENIED.

      11. Objections to photographs of the tag placed on Christopher Motley's body, ECF

          No. 591.


                                                  13

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 13 of 17 Pageid#: 5145
          Defendant Shabba Chandler objects to exhibits 191 and 236. ECF No. 591. See also

   ECF Nos. 595, 604, 607 & 730 Goining ECF No. 591). These exhibits are photographs of the

   tags placed on Christopher Motley's body bag. Chandler objects on the grounds of relevance.

   The government responds that the photographs will be introduced by the appropriate

   \vitnesses to help prove the body at the crime scene and the body investigated by the medical

   examiner are the same, as there are no stipulations to chain of custody in this case. As such,

   the probative value of this evidence is not "substantially outweighed" by unfair prejudice. Fed.

   R. Evid. 403. Defendants' motion in limine, insofar as it objects to the admission of exhibits

   191 and 236, is DENIED.

      12. Objections to the admission of the diagram of the bullet trajectory.

          Defendant Chandler also moves for the exclusion of a diagram of a bullet trajectory

   from the medical examiner's report, catalogued as exhibit 241, as cumulative to the medical

   examiner's report itself. ECF No. 591. See also ECF Nos. 595, 604, 607 & 730 Goining ECF

   No. 591). The government responds that it agrees and will only use the diagram of the bullet

   trajectory that is contained in the medical examiner's report. As the government has agreed

   with defendant Chandler's objection, the court GRANTS this motion in so far as it objects

   to the diagram of the bullet trajectory.

      13. Objection to PowerPoint presentation by toolmark examiners.

          Defendant Chandler also moves to exclude a PowerPoint presentation to be used by

   toolmark examiners called by the government as expert witnesses. ECF No. 591. See also ECF

   Nos. 595, 604, 607 & 730 Goining ECF No. 591). Defendant Deshaun Trent also objects to

   the inclusion of this PowerPoint. ECF No. 577 . The government agrees that the PowerPoint


                                                 14

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 14 of 17 Pageid#: 5146
   presentation is not admissible under Federal Rule of Evidence 1006, but seeks to use it as an

   aid to the jury under Rule 611 (a). See United States v. Oloyede,   o. 17-4102 (4th Cir. July 31,

   2019) (holding that FRE 611 supports use of summary evidence at trial to facilitate the

   presentation and comprehension of evidence to the jury). The government asserts that this

   exhibit would not be admissible, but would serve only to help the jury understand how

   firearms operate and toolmarks are made during Wendy Gibson's testimony.

          The court TAKES UNDER ADVISEMENT the motion and will revisit the issue at

   trial, where it can properly evaluate how and for what purpose the PowerPoint is used. Counsel

   for the government is reminded of the court's previous Order on Daubert issues and advises

   that all material presented by the PowerPoint must conform with said Order.

      14. Objection to the admission of DMV Records of Ross's Black Chevrolet

          Impala.

          Defendant Ashley Ross objects to the certified Virginia Department of Motor Vehicles

   ("DMV") records, which show the ownership of a black Chevy Impala owned and registered

   by her during 2016, as irrelevant and substantially more prejudicial than probative. See ECF

   No. 595 (obj ecting to Exhibits 1794-1799). The government responds that, at trial, the court

   will hear testimony that the black Chevy Impala was owned by Ross, was used to help commit

   various attempted murders and the Motley murder, and that various Rollin 60s Crips gang

   members drove the vehicle. Ross's objection to the inclusion of this evidence is

   OVERRULED.

      15. ECF No. 715, the government's motion in limine to add two inadvertently

          omitted witnesses, is GRANTED.


                                                  15

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 15 of 17 Pageid#: 5147
      16. ECF No. 732, Deshaun Trent's motion for a bill of particulars, was largely

         resolved at the September 13 hearing. As such, it is DENIED as moot.

      17. ECF No. 652, the government's motion in limine to admit business records

         pursuant to Federal Rule of Evidence 902, is unobjected to and so GRANTED.

      18. ECF No. 653, the government's motion in limine to admit electronic records

         pursuant to Federal Rule of Evidence 902, is unobjected to and so GRANTED.

      19. ECF No. 655, the government's motion in limine for judicial notice of

          undisputed facts.

         This motion asks the court to take judicial notice of two facts: (1) an enhanced Google

   Earth Map of Southwyck Apartments; and (2) the fac t that Coordinated Universal Time

   (Greenwich Mean Time) is four hours ahead of Eastern Standard Time during D aylight

   Savings Time and five hours ahead during the rest of the year. The motion is unobj ected to

   and so GRANTED.

      20. The government's motion to proceed to scheduled trial, ECF No. 660, Is

          GRANTED.

          Barring any drastic, unforeseen events, this matter will proceed to trial as previously

   scheduled.

      21. The government's motion in limine to exclude references to the defendants'

          potential sentences, ECF No. 656.

          T his motion is opposed by defendants D eshaun Trent, Phillip Miles, Marcus Davis,

   and Kanas Trent as attempting to seek a ruling on something that has not yet become a

   problem. In accordance with existing precedent, the government's motion is GRANTED.


                                                16

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 16 of 17 Pageid#: 5148
   S.ee United States v. Meredith, 824 F.2d 1418, 1429 (4th Cir. 1987) (observing that comments

   about a defendant's possible sentence "are improper and m ay warrant a reversal"); United

   States v. Robinson, 583 Fed. Appx. 53, 54 (4th Cir. 2014) (noting that courts have "uniformly

   held that juries must reach a verdict without knowledge of possible sentences"). See also

   United States v. Gibson, No. 7:16CR00008-03, 2017 WL 2304023, at *5 (W.D. Va. May 25,

   2017).

      22. The government's motion to exclude accusations, speculation, and

            commentary of unfounded racist allegations by counsel in front of the jury,

            ECF No. 657, is unopposed and thus GRANTED. See Fed. R. Evid. 403; Smith

            v. Farley, 59 F.3d 659, 663 (7th Cir. 1995) ("There is no place in a criminal

            prosecution for gratuitous references to race.") .

            It is so ORDERED.

                                                         Entered:   tJ q   /I 8'!2-     (!;) /   1
                                                  1~17'/1,~ f. 'Ut,~




                                                    17

Case 4:18-cr-00011-MFU-RSB Document 772 Filed 09/18/19 Page 17 of 17 Pageid#: 5149
